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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Vista Proppants and Logistics, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4413 Carey Street
                                  Fort Worth, TX 76119-4219
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.vprop.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Vista Proppants and Logistics, LLC                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2123

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                              Relationship
                                                 District                                 When                          Case number, if known



Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Vista Proppants and Logistics, LLC                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                    5001-10,000                                50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




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Debtor    Vista Proppants and Logistics, LLC                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 9, 2020
                                                  MM / DD / YYYY


                             X       /s/ Gary Barton                                                      Gary Barton
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X      /s/ Stephen M. Pezanosky                                               Date June 9, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen M. Pezanosky
                                 Printed name

                                 Haynes and Boone, LLP
                                 Firm name

                                 301 Commerce Street
                                 Suite 2600
                                 Fort Worth, TX 76102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     817-347-6601                  Email address      stephen.pezanosky@haynesboone.com

                                 15881850 (Texas) TX
                                 Bar number and State




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Debtor     Vista Proppants and Logistics, LLC                                               Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Denetz Logistics, LLC                                                   Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known
Debtor     Lonestar Prospects Management, L.L.C.                                   Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known
Debtor     Lonestar Prospects, Ltd.                                                Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known
Debtor     MAALT Specialized Bulk, LLC                                             Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known
Debtor     MAALT, LP                                                               Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known
Debtor     VPROP Operating, LLC                                                    Relationship to you               Common Ownership
           Northern District of Texas, Fort
District   Worth Division                             When                         Case number, if known




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                       JOINT WRITTEN CONSENT OF THE
            BOARD OF MANAGERS AND THE FIRST RESERVE MEMBER OF
                    VISTA PROPPANTS AND LOGISTICS, LLC

                                            June 9, 2020

         The undersigned being all of the members of the board of directors (each a “Manager” and
collectively, the “Board”) of Vista Proppants and Logistics, LLC, a Delaware Limited Liability
Company (the “Company”), which is the sole member of VPROP Operating, LLC, a Delaware
limited liability company (“Borrower”), which is the sole member of: (a) Lonestar Prospects
Management, L.L.C., a Texas limited liability company (“LPM”), (b) Denetz Logistics, L.L.C., a
Texas limited liability company (“Denetz”), and (c) Maalt Specialized Bulk, LLC, a Texas limited
liability company (“Specialized” and together with Borrower, LPM, and Denetz, collectively the
“Subsidiaries” and each a “Subsidiary”), and FR Sand Holdings LLC, a Delaware limited liability
company and member of the Company (the “First Reserve Member”), acting pursuant to the
Delaware Limited Liability Company Act, and the Amended and Restated Limited Liability
Company Agreement of the Company, as amended, do hereby waive the requirements of notice
and voting, including without limitation, any specific requirement of prior notice for taking actions
by written consent, and of a meeting and hereby consent to, adopt and approve the following
resolutions and each and every action effected thereby (the “Consent”):

                                              Recitals

        WHEREAS, the Company and its Subsidiaries are undergoing unprecedented financial
distress and operational challenges relating to the COVID-19 pandemic;

       WHEREAS, the Board and the First Reserve Member have received, reviewed, and
considered materials presented by management and the legal and financial advisors of the
Company regarding the Company and its Subsidiaries’ financial and operating difficulties and the
impact of the foregoing on the Company and its Subsidiaries’ businesses;

        WHEREAS, the Board and the First Reserve Member have received, reviewed and
considered advice from management and the legal and financial advisors of the Company
regarding possible strategic alternatives to address the Company and its Subsidiaries’ financial and
operating difficulties, including pursuant to in-court bankruptcy proceedings, and the impact of
the foregoing on the Company and its Subsidiaries’ businesses and their stakeholders;

        WHEREAS, in light of the foregoing, the Board and the First Reserve Member have
determined that it is desirable and in the best interests of the Company and its Subsidiaries to cause
to be filed petitions by the Company and its Subsidiaries seeking relief under the provisions of
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) on or after June 9, 2020;

       WHEREAS, the Company and its Subsidiaries do not have sufficient liquidity to continue
operations during the pendency of the chapter 11 bankruptcy proceeding, the Board and the First
Reserve Member have further determined that it is advisable and in the best interests of the
Company and its Subsidiaries, and their stakeholders for the Company and its Subsidiaries to: (i)
obtain post-petition financing (the “DIP Facility”), in accordance with that certain key term sheet


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(in substantially the form previously provided to and reviewed by the Board and the First Reserve
Member, the “DIP Term Sheet”), pursuant to a debtor-in-possession credit agreement to be entered
into among Ares Capital Corporation, as administrative agent (the “DIP Agent”) on behalf of the
lenders named therein (the “DIP Lenders”), the Company, and Subsidiaries identified therein in
substantially the form previously provided to and reviewed by the Board and the First Reserve
Member (the “DIP Credit Agreement”) to fund the working capital requirements of the Company
and its Subsidiaries and other transactions as more fully described therein in substantially similar
terms as set forth in the DIP Term Sheet and (ii) grant a security interest in substantially all of the
Company and Subsidiaries’ assets to the DIP Agent for the benefit of the DIP Lenders to secure
the obligations under the DIP Facility, as further provided in the DIP Credit Agreement;

        WHEREAS, in order to evidence and secure the indebtedness, obligations, and liabilities
of the Company and each Subsidiary pursuant to the DIP Credit Agreement, the Board and the
First Reserve Member deem it advisable and in the best interest of the Company and its
Subsidiaries to (i) enter into, execute, deliver, and perform its obligations under any and all
agreements, documents, instruments, certificates, acknowledgments, statements and papers as may
be contemplated by or entered into in connection therewith, including any of the foregoing
pursuant to which the Company and the Subsidiaries grant a security interest on their respective
assets described therein (collectively with the DIP Credit Agreement, the “Loan Documents”) and
any amendments, supplements, modifications, restatements, or increases to any of the foregoing
on such terms and conditions as the Board or any officer of the Company, acting alone, deems to
be in the best interests of the Company and its Subsidiaries; and (ii) consummate the transactions
contemplated by the Loan Documents;

       WHEREAS, the Board and the First Reserve Member have previously appointed Gary
Barton (“Mr. Barton”) as the Chief Restructuring Officer of the Company; and

        WHEREAS, the Board and the First Reserve Member have determined that it is advisable
and in the best interests of each of the Subsidiaries to appoint Mr. Barton as the Chief Restructuring
Officer of each of the Subsidiaries.

         NOW, THEREFORE, BE IT

Filing and Prosecution of Bankruptcy Case

       RESOLVED, that it is desirable and in the best interest of the Company and its Subsidiaries
to authorize Gary Barton (“Authorized Officer”), to cause to be filed petitions in the name of the
Company and its Subsidiaries (the “Chapter 11 Petitions”) seeking relief under the provisions of
Chapter 11 of the Bankruptcy Code; and it is further

        RESOLVED, that the Board and the First Reserve Member shall authorize and direct
Authorized Officer, acting on behalf of the Company and its Subsidiaries, to execute and verify
the Chapter 11 Petitions and to cause the same to be filed in the United States Bankruptcy Court
for the Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”), in such form
and at such time as Authorized Officer shall determine; and it is further

       RESOLVED, that Authorized Officer, acting on behalf of the Company and its
Subsidiaries, hereby is authorized to execute and file (or direct others to do so on behalf of the

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Company and its Subsidiaries as provided herein) all necessary documents, including, without
limitation, all petitions, affidavits, schedules, motions, lists, applications, pleadings and other
papers, and in connection therewith, to employ and retain all assistance by legal counsel,
accountants or other professionals and to take any and all action which they deem necessary and
proper in connection with the Chapter 11 cases, provided; however, such authorization does not
include a delegation of authority to Authorized Officer for actions that require Board approval,
including, without limitation, approval and filing of plans of reorganization, or any material
amendments thereto, in connection with the Chapter 11 cases; and it is further

Employment of Professionals

        RESOLVED, that the law firm of Haynes and Boone, LLP (“Haynes and Boone”) be, and
hereby is, employed under general retainer as bankruptcy counsel for the Company and its
Subsidiaries in the Chapter 11 cases, and Authorized Officer, acting on behalf of the Company and
its Subsidiaries, is hereby authorized and directed to execute appropriate retention agreements,
direct payment of appropriate retainers in substantially the amounts previously discussed by the
Board prior to and immediately upon the filing of the Chapter 11 cases, and cause to be filed an
appropriate application for authority to retain the services of Haynes and Boone; and it is further

        RESOLVED, that the consulting firm of Kurtzman Carson Consultants LLC (“KCC”) be,
and hereby is, employed as claims, noticing, balloting, and solicitation agent and to provide other
related services for the Company and its Subsidiaries in the Chapter 11 cases, and Authorized
Officer, acting on behalf of the Company and its Subsidiaries, is hereby authorized and directed to
execute appropriate retention agreements, direct payment of appropriate retainers in substantially
the amount previously discussed by the Board prior to and immediately upon the filing of the
Chapter 11 cases, and cause to be filed an appropriate application for authority to retain the services
of KCC; and it is further

       RESOLVED, that Authorized Officer, acting on behalf of the Company and its
Subsidiaries, is hereby authorized and directed to employ any other firm as professionals or
consultants to the Company and its Subsidiaries as are deemed necessary to represent and assist
the Company and its Subsidiaries in carrying out their duties under the Bankruptcy Code and, in
connection therewith, Authorized Officer, acting behalf of the Company and its Subsidiaries, is
hereby authorized and directed to execute appropriate retention agreements, direct payment of
appropriate retainers prior to and after the filing of the Chapter 11 cases and cause to be filed
appropriate applications for authority to retain the services of such firm; and it is further

Authorization to Obtain DIP Financing

         RESOLVED, that it is advisable and in the best interests of the Company and its
Subsidiaries to consummate the DIP Facility and to execute and deliver the Loan Documents; and
it is further

        RESOLVED, that the form, terms and provisions of the Loan Documents to be executed
by the Company and its Subsidiaries, substantially in the form described or provided to the Board
and the First Reserve Member, be, and the same hereby is, approved in all respects; and it is further




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        RESOLVED, that the officers of the Company, acting on behalf of the Company and each
Subsidiary, are hereby granted full authority to obtain debtor in possession financing on the terms
contained in the DIP Term Sheet and DIP Credit Agreement and such other ancillary agreements,
documents, and instruments relating thereto and that each of the officers be, and each hereby is,
authorized, empowered and directed, in the name and on behalf of the Company and each
Subsidiary, to execute each Loan Document in substantially the form so described or provided
with such changes therein and additions thereto as the officer executing such Loan Document, as
the case may be, on behalf of the Company and each Subsidiary shall approve, such execution to
be conclusive proof of such approval; and that the Company and each Subsidiary is hereby
authorized and directed to perform all of its obligations under the Loan Documents when so
executed, to deliver each such Loan Document in accordance with its terms, and to grant the
security interests set forth under the other Loan Documents; and it is further

        RESOLVED, that the officers of the Company be, and each hereby is, authorized,
empowered and directed, each in the name and on behalf of the Company and each Subsidiary, to
execute such amendments, supplements or other modifications to any of the Loan Documents,
from time to time subsequent to the effective date of the Loan Documents as such officer may
deem appropriate, in such form as the person executing the same on behalf of the Company or
Subsidiary, as applicable, shall approve, such execution to be conclusive proof of such approval;
and that the Company and each Subsidiary is hereby authorized and directed to perform all of its
obligations under such agreement when so executed; and it is further

         RESOLVED, that the officers of the Company be, and each hereby is, authorized and
directed, each in the name and on behalf of the Company and each Subsidiary, to take all such
steps and do all such acts and things as they or any one or more of them shall deem necessary or
advisable to proceed with the transactions contemplated by the foregoing resolutions and the Loan
Documents, including without limitation, the signing of the Loan Documents and any and all other
documents required to be signed by the Company and its Subsidiaries in connection with the Loan
Documents (including, without limitation, any documents or certificates to be executed or
delivered by any officer to the Lenders or Administrative Agent, or any other party to any Loan
Documents, or their respective attorneys or the Company’s attorneys), the execution and delivery
of any necessary or appropriate agreements, instruments, certificates, affidavits, notices or other
documents in connection therewith, the authorization of all financing statements, the execution
and delivery of any amendments, waivers or supplements to any of the Loan Documents, the
signing or endorsement of any checks or notes, the establishment of accounts, the posting of any
bonds, and the payment of any fees, and from time to time to take any and all action to make,
execute, verify and file all applications, certificates, documents, or other instruments and to do any
and all acts and things which any one or more of them shall deem necessary, advisable or
appropriate in order to carry out the intent and purpose of any and all of the foregoing resolutions;
and it is further

       RESOLVED, that the officers of the Company are hereby authorized and directed to, on
behalf of Company and each Subsidiary, grant or reaffirm guarantees, security interests, liens
and/or pledges on all of the Company and Subsidiaries’ assets to secure the obligations arising
under or pursuant to the Loan Documents and such other ancillary agreements, documents, and
instruments relating thereto; and it is further



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Appointment of Chief Restructuring Officer

       RESOLVED, that, subject to the same terms and conditions as set forth in the May 19,
2020 engagement letter covering his appointment as Chief Restructuring Officer of Company, Mr.
Barton be, and hereby is, elected as the Chief Restructuring Officer of each of the Subsidiaries, to
serve until his successor shall have been duly elected and qualified, or until his earlier death,
resignation, retirement, disqualification, or removal from office; and it is further

       RESOLVED, that any and all authorized actions previously taken by Mr. Barton in such
capacity are hereby ratified, approved, confirmed, and adopted as the actions of each of the
Subsidiaries, as applicable.

General Authorizing Resolutions

         RESOLVED, that Authorized Officer, acting on behalf of the Company and each
Subsidiary, is hereby granted full authority to act in the name of and on behalf of the Company
and each Subsidiary, under the Company’s seal or otherwise, to make, enter into, execute, deliver
and file any and all other or further agreements, documents, certificates, materials and instruments,
to disburse funds of the Company and each Subsidiary, to take or cause to be taken any and all
other actions, and to incur all such fees and expenses deemed to be necessary, appropriate, or
advisable to carry out the purposes of the foregoing resolutions and the transactions contemplated
thereunder and/or to successfully complete the Chapter 11 cases, the taking of any such action to
constitute conclusive evidence of the exercise of such discretionary authority, provided; however,
such authorization does not include a delegation of authority to Authorized Officer for actions that
require Board approval, including, without limitation, approval and filing of plans of
reorganization, or any material amendments thereto, in connection with the Chapter 11 cases; and
it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by the Officers, Directors
and/or Board to seek relief under Chapter 11 of the Bankruptcy Code or in connection with the
Chapter 11 cases, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed
and approved in all respects as the acts and deeds of the Company and each Subsidiary; and it is
further

        RESOLVED, that Authorized Officer, acting on behalf of the Company and each
Subsidiary, is authorized, empowered and directed to certify and attest any documents or materials
deemed necessary, desirable, or appropriate to consummate the transactions contemplated by the
foregoing resolutions, without the necessity of further approvals or consents by the Shareholders
or the affixing of any seal of the Company; and it is further

        RESOLVED, that all actions heretofore taken by the Company and each Subsidiary, the
Officers, the individual Directors, the Board, and other authorized representative of the Company
with respect to the foregoing transactions and all other matters contemplated by the foregoing
resolutions that require approval by the Board are hereby in all respects, approved, adopted,
ratified, and confirmed.




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        This Consent may be executed in one or more counterparts, each of which shall be deemed
an original and all of which, together, shall constitute one consent. All of the foregoing resolutions
shall be deemed adopted simultaneously.



                                      Signature Page Follows




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        IN WITNESS WHEREOF, the undersigned have executed this Consent effective as of
the date first set forth above.



                                                 BOARD:

                                                 ___________________________________
                                                 Gary B. Humphreys


                                                 ___________________________________
                                                 Martin W. Robertson


                                                 ___________________________________
                                                 Neil Wizel


                                                 ___________________________________
                                                 Edward Bialas


                                                 ___________________________________
                                                 Tim Probert


                                                 ___________________________________
                                                 Stephen Straty



                                                 FIRST RESERVE MEMBER:

                                                 FR SAND HOLDINGS LLC


                                                 By:________________________________
                                                 Name: Edward Bialas
                                                 Title: Vice President




            SIGNATURE PAGE TO VISTA PROPPANTS AND LOGISTICS, LLC JOINT WRITTEN CONSENT
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        IN WITNESS WHEREOF, the undersigned have
    executed this Consent effective as of the date first set forth
    above.


                                      BOARD:


                                      Gary B. Humphreys




                                      Martin W. Robertson



                                      Neil Wizel




                                      Edward Bialas




                                      Stephen Straty


                                      FIRST                 RESERVE
    MEMBER:

                                      FR SAND HOLDINGS LLC


                                      By:
                                          ---------
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     Fill in this information to identify the case:
     Debtor name Vista Proppants and Logistics, LLC
     United States Bankruptcy Court for the: Northern District of Texas
     Case number (If known): ___________                                                                                                     Check if this is an
                                                                                                                                              amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
     Claims and Are Not Insiders                                           12/15
     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
     the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
     not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
     among the holders of the 20 largest unsecured claims.
     Name of creditor and complete mailing address,      Name, telephone number, and email          Nature of the claim       Indicate if claim   Amount of unsecured claim
     including zip code                                  address of creditor contact                (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                    debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in
                                                                                                    professional services,   disputed             total claim amount and deduction for value of
                                                                                                    and government                                collateral or setoff to calculate unsecured claim.
                                                                                                    contracts)
                                                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                                                  partially         value of           claim
                                                                                                                                                  secured           collateral or
                                                                                                                                                                    setoff
     Piper Jaffray & Co                                  Attn: Sanjiv Shah
     609 Main St                                         Title: Managing Director
 1                                                                                                   Professional Services                                                              $       382,872
     #3800                                               Phone: 713-546-7336
     Houston, TX 77002                                   Email: sanjiv.shah@simmonspsc.com




Official Form 204                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                      Page 1
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 Fill in this information to identify the case:

 Debtor name         Vista Proppants and Logistics, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 9, 2020                            X    /s/ Gary Barton
                                                                         Signature of individual signing on behalf of debtor

                                                                         Gary Barton
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

In re:                                          §    Chapter 11
                                                §
VISTA PROPPANTS AND LOGISTICS,                  §    Case No. _____________
LLC,                                            §
                                                §
         Debtor.                                §

                          LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, Vista

Proppants and Logistics, LLC hereby provides the following list of holders of equity interests:

            Name and Address of                           Percentage of Interests Held
               Interest Holder
 Lonestar Prospects Holding Company, L.L.C.
 c/o Gary Humphreys and Martin Robertson
 4413 Carey Street                                         52.79% Membership Interest
 Fort Worth, TX 76119

 FR Sand Holdings LLC
 c/o First Reserve Advisors, L.L.C.
 One Lafayette Place                                       30.60% Membership Interest
 Greenwich, Connecticut 06830

 M&J Partnership, Ltd.
 c/o Gary Humphreys and Martin Robertson
 4413 Carey Street                                         6.31% Membership Interest
 Fort Worth, TX 76119

 Future New Deal, Ltd.
 c/o Gary Humphreys and Martin Robertson
 4413 Carey Street                                         6.31% Membership Interest
 Fort Worth, TX 76119

 ARCC VS Corp.
 c/o Ares Capital Corporation
 245 Park Avenue, 44th Floor
                                                           1.77% Membership Interest
 New York, NY 10167
 Attn: General Counsel




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 Gary Humphreys
 4413 Carey Street
                                                  1.06% Membership Interest
 Fort Worth, TX 76119

 Martin Robertson
 4413 Carey Street
                                                  1.06% Membership Interest
 Fort Worth, TX 76119

 Ares ND Credit Strategies Fund LLC
 c/o Ares Capital Corporation
 245 Park Avenue, 44th Floor
                                                  0.05% Membership Interest
 New York, NY 10167
 Attn: General Counsel

 Tim Probert
 c/o First Reserve Advisors, L.L.C.
 One Lafayette Place                              0.05% Membership Interest
 Greenwich, Connecticut 06830

 Ares Credit Strategies
 c/o Ares Capital Corporation
 245 Park Avenue, 44th Floor
                                                  0.01% Membership Interest
 New York, NY 10167
 Attn: General Counsel

 Ares Jasper Fund, L.P.
 c/o Ares Capital Corporation
 245 Park Avenue, 44th Floor                               0.00%
 New York, NY 10167                                   (Less than .01%)
 Attn: General Counsel

 GHMR Operations, L.L.C.
 c/o Gary Humphreys and Martin Robertson
 4413 Carey Street                                        Series A
 Fort Worth, TX 76119




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                                                      VISTA PROPPANTS AND LOGISTICS, LLC


                                                      By: _/s/ Gary Barton_________________
                                                      Gary Barton
                                                      Chief Restructuring Officer




                 Signature Page to Vista Proppants and Logistics, LLC List of Equity Security Holders
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

In re:                                          §    Chapter 11
                                                §
VISTA PROPPANTS AND LOGISTICS,                  §    Case No. _____________
LLC,                                            §
                                                §
         Debtor.                                §



                       STATEMENT OF CORPORATE OWNERSHIP

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of Vista Proppants and Logistics, LLC certifies that the

following corporate entities/individuals own more than 10% of the Debtor’s equity interest.

                Shareholder                                Percentage of Total Shares
 Lonestar Prospects Holding Company, L.L.C.
 c/o Gary Humphreys and Martin Robertson
 4413 Carey Street                                         52.79% Membership Interest
 Fort Worth, TX 76119

 FR Sand Holdings LLC
 c/o First Reserve Advisors, L.L.C.
 One Lafayette Place                                       30.60% Membership Interest
 Greenwich, Connecticut 06830




                                             VISTA PROPPANTS AND LOGISTICS, LLC


                                             By: ___/s/ Gary Barton_____________________
                                             Gary Barton
                                             Chief Restructuring Officer




4829-4806-3915
